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BoBBIE J. CARR, w.)t') §§ “1"‘~.5 irelin
Plaiotiff,
v_ No. 03-2569- DP
GREGG DREW, et. al.,
Defendants.

 

" " . ORDER ON THE MOTION OF DEFENDANT GREGG DREW FOR
AN EXTENSION OF TIME TO DISCLOSE EXPERTS

 

Before this Court is the Motion of Defendant Gregg Drew for Extension of Time
to Disclose Experts. This Court finds that this motion is Well taken and should be granted
It is, therefore, ordered, adjudged and decreed that the deadline for the disclosure
of experts by defendant Gregg Drew is extended and that this defendant will not be
required to disclose any expert witnesses until sixty (60) days following expert

disclosures by the plaintiff

IT ls so oRDERED, this the Q°`l day of P\\)%;_p,_c$; , 2005.
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UNITED STATES DlS€-”FR§€F-JUDGE

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This notice confirms a copy of the document docketed as number 384 in
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Honorable Bernice Donald
US DISTRICT COURT

